          Case 8:10-cv-01065-MLG Document 7 Filed 12/22/10 Page 1 of 2 Page ID #:16




1    Richard K. Gustafson II, Bar # 193914
     Legal Helpers, P.C.
2    233 S. Wacker Drive, Suite 5150
     Chicago, IL 60606
3
     Tel: 1.866.339.1156
4    Fax: 1.312.822.1064
     rkg@legalhelpers.com
5    Attorney for Plaintiff
6
                                 UNITED STATES DISTRICT COURT
7                               CENTRAL DISTRICT OF CALIFORNIA
                                      SOUTHERN DIVISION
8
     Catherine Goyette,                                   Case No. 8:10-cv-01065-MLG
9

10            Plaintiff,
                                                                 NOTICE OF DISMISSAL
11   v.                                                            WITH PREJUDICE
12
     Regional Adjustment Bureau, Inc.,
13
              Defendant.
14

15            Now comes Plaintiff, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

16   hereby dismisses the present action with prejudice. This notice is being filed before Defendant
17   has served an answer and therefore is appropriate for dismissal absent stipulation by all parties.
18

19
                                                   RESPECTFULLY SUBMITTED,
20

21
                                                   Legal Helpers, P.C.

22                                                 By: /s/ Richard K. Gustafson
                                                      Richard K. Gustafson II (Bar # 193914)
23                                                    233 S. Wacker Dr., Suite 5150
                                                      Chicago, IL 60606
24
                                                      Tel: 866-339-1156
25                                                    Fax: 312-822-1064
                                                      Email: rkg@legalhelpers.com
26                                                    Attorney for Plaintiff
27

28


     NOTICE OF DISMISSAL                              1
     WITH PREJUDICE
      Case 8:10-cv-01065-MLG Document 7 Filed 12/22/10 Page 2 of 2 Page ID #:17




1                                      CERTIFICATE OF SERVICE

2           I hereby certify that on a copy of the foregoing Notice was filed electronically. Notice of
3
     this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
4
     on the electronic filing receipt. The following party was served via regular U.S. mail:
5
     Kenyon M. Young
6
     Bragg & Kuluva
7    610 West Ash Street, Suite 1105
     San Diego, California 92101
8

9

10                                                  /s/ Richard J. Meier

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     NOTICE OF DISMISSAL                                2
     WITH PREJUDICE
